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                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9
       UNITED STATES OF AMERICA,                                  Case No. CR20-147RSL
10
                              Plaintiff,                          ORDER GRANTING
11
                         v.                                       MOTION TO CONTINUE
12                                                                TRIAL AND PRETRIAL
       TODD MILTON HENRY,                                         MOTIONS DATES
13
14                            Defendant.

15          This matter comes before the Court on defendant’s “Unopposed Motion to Continue Trial
16 and Pretrial Motions Dates.” Dkt. #19. Having considered the facts set forth in the motion, and
17 defendant’s knowing and voluntary waiver, the Court finds as follows:
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            1.      The Court adopts the facts set forth in the motion; specifically, that defense
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     counsel needs additional time to review discovery and to effectively prepare for trial. The Court
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     accordingly finds that a failure to grant a continuance would deny counsel, and any potential
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     future counsel, the reasonable time necessary for effective preparation, taking into account the
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23 exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
24        2.     The Court finds that a failure to grant a continuance would likely result in a
25 miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
26          3.      The Court finds that the additional time requested between November 30, 2020,
27 and the proposed trial date of May 3, 2021 is a reasonable period of delay, as counsel needs
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     ORDER GRANTING MOTION TO CONTINUE TRIAL - 1
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     additional time to prepare for trial. The Court finds that this additional time is necessary to
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     provide counsel reasonable time to prepare for trial, considering all the facts set forth above.
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            4.      The Court further finds that this continuance would serve the ends of justice, and
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     that these factors outweigh the best interests of the public and defendant in a speedier trial,
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     within the meaning of 18 U.S.C. § 3161(h)(7)(A).
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 7          5.      Defendant has signed a waiver indicating that he has been advised of his right to a

 8 speedy trial and that, after consulting with counsel, he has knowingly and voluntarily waived
 9 that right and consented to the continuation of his trial to a date up to and including May 17,
10 2021, Dkt. #20, which will permit trial to start on May 3, 2021, per the parties’ request.
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            IT IS HEREBY ORDERED that the trial date be continued from November 30, 2020 to
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     May 3, 2021.
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            IT IS FURTHER ORDERED that the pretrial motions deadline be continued to March
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     29, 2021.
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            IT IS FURTHER ORDERED that the period of time from the current trial date of
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     November 30, 2020, up to and including May 17, 2021, shall be excludable time pursuant to 18
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     U.S.C. § 3161, et seq. The period of delay attributable to this filing and granting of this motion
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     is excluded for speedy trial purposes pursuant to 18 U.S.C. §§ 3161(h)(1)(D), (h)(7)(A), and
19
     (h)(7)(B).
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            DATED this 16th day of October, 2020.
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24
                                                       A
                                                       Robert S. Lasnik
25                                                     United States District Judge

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     ORDER GRANTING MOTION TO CONTINUE TRIAL - 2
